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       EXHIBIT 12
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                                                                               U.S. Citizenship and Immigration Services
                                                                               National Records Center
                                                                               P.O. Box 648010
                                                                               Lee's Summit, MO 64064-8010


March 15, 2023

                                                                                            COW2023001566
Mike Howell
214 Massachusetts Ave NE
Washington, DC 20002



Dear Mike Howell:
We received your request for information relating to:
1) All records within the Alien File (A-File) of Prince Henry Charles Albert David (Date of Birth
09/15/1984) of the British Royal Family aka Prince Harry aka His Royal Highness Prince Henry of Wales
aka the Duke of Sussex, including but not limited to: •Any and all applications for immigration benefits
filed, whether or not adjudicated; •Any and all Forms I-213; •Any and all Forms I-275; and •Any and all
Forms I-877. Section
2) All records pertaining to the Duke of Sussex in the following system of records maintained by CBP
and DHS •Automated Targeting System (ATS, DHS/CBP-006); •Advance Passenger Information System
(APIS, DHS/CBP-005); •Border Crossing Information System (BCIS, DHS/CBP-007); •U.S. Customs
and Border Protection TECS (DHS/CBP-011); •Non-Federal Entity Data System (NEDS, DHS/CBP-
008); •DHS Use of the Terrorist Screening Database (TSDB) System of Records (DHS/ALL-030); •CBP
Intelligence Records System (CIRS, DHS/CBP-024); •DHS Automated Biometric Identification System
(IDENT, DHS/USVISIT-004); •Electronic System for Travel Authorization (ESTA, DHS/CBP-009); •
Nonimmigrant Information System (NIIS, DHS/CBP-016); •Arrival and Departure Information System
(ADIS, DHS/CBP-021);and •Electric Visa Update System (EVUS., DHS/CBP-022).
Section 3) All records relating to any requests for waiver pursuant to Section 212(d)(3) of the
Immigration and Nationality Act including, but not limited to, email communications within the DHS
Office of the Secretary, the USCIS Office of the Director, the CBP Office of the Commissioner, or any
subordinate office within those named departments or agency or a record of any communication between
any of those named entities and the U.S. Department of Stater, the U.S. Embassy in London, the Federal
Bureau of Investigation, or U.S. Immigration and Customs Enforcement.
Your request was received in this office on March 8, 2023. We may need to contact you at a later date to
discuss the scope of your request.
Your request is being handled under the provisions of the Freedom of Information Act (5 U.S.C. § 552). It
has been assigned the following control number: COW2023001566. Please cite this number in all future
correspondence about your request.
We respond to requests on a first-in, first-out basis and on a multi-track system. Your request has been
placed in the complex track (Track 2).
Based on the information you provided, we have determined that expedited processing of your request is
not warranted. The Department of Homeland Security Freedom of Information Act regulation at 6 C.F.R.
§ 5.5(e)(1) requires that you demonstrate that your request warrants expedited treatment because it
involves:
    (i) Circumstances in which the lack of expedited processing could reasonably be expected to pose an


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    imminent threat to the life or physical safety of an individual;
    (ii) An urgency to inform the public about an actual or alleged federal government activity, if made
    by a person who is primarily engaged in disseminating information;
    (iii) The loss of substantial due process rights; or
    (iv) A matter of widespread and exceptional media interest in which there exist possible questions
    about the government’s integrity which affect public confidence.
Additionally, 6 C.F.R. § 5.5(e)(3) requires that a requester who seeks expedited processing must submit a
statement, certified to be true and correct, explaining in detail the basis for making the request for
expedited processing. Furthermore, requests for expedited processing that are based on paragraph
(e)(1)(iv) of this section must be submitted to the Senior Director of FOIA Operations, the Privacy Office,
U.S. Department of Homeland Security, 245 Murray Lane SW STOP-0655, Washington, D.C. 20598-
0655. If you can demonstrate any further showing as to the nature and degree of (i), (ii), or (iii) of the
above categories, please submit this additional information to this office for reconsideration.
You have the right to file an administrative appeal within 90 days of the date of this letter. By filing an
appeal, you preserve your rights under FOIA and give the agency a chance to review and reconsider your
request and the agency’s decision. You may file an administrative FOIA appeal to USCIS at: USCIS
FOIA/PA Appeals Office, 150 Space Center Loop, Suite 500, Lee's Summit, MO 64064-2139. Both the
letter and the envelope should be clearly marked “Freedom of Information Act Appeal.”
If you would like to discuss our response before filing an appeal to attempt to resolve your dispute
without going through the appeals process, you may contact our USCIS FOIA Public Liaison at U.S.
Citizenship and Immigration Services, National Records Center, FOIA/PA Office, P.O. Box 648010,
Lee’s Summit, MO 64064-8010, or by email at FOIAPAQuestions@uscis.dhs.gov.
A USCIS FOIA Public Liaison is an agency official to whom FOIA requesters can raise concerns about
the service the requester has received from the agency’s FOIA Office. USCIS FOIA Public Liaisons are
responsible for assisting in reducing delays, increasing transparency, and understanding of the status of
requests, and assisting in the resolution of disputes.
If you are unable to resolve your FOIA dispute through our USCIS FOIA Public Liaison, you may contact
the Office of Government Information Services (OGIS) at the National Archives and Records
Administration to inquire about the FOIA mediation services they offer. The contact information for
OGIS is Office of Government Information Services, National Archives and Records Administration,
8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001; email ogis@nara.gov; telephone 202-
741-5770; toll free 877-684-6448; or facsimile 202-741-5769.
Consistent with 6 C.F.R. § 5.5(a) of the Department of Homeland Security (DHS) FOIA regulations,
USCIS processes FOIA requests according to their order of receipt. Although USCIS’ goal is to respond
within 20 business days of receipt of your request, FOIA does permit a 10-day extension of this time
period in certain circumstances. Due to the increasing number of FOIA requests received by this office,
we may encounter some delay in processing your request. Additionally, due to the scope and nature of
your request, USCIS will need to locate, compile, and review responsive records from multiple offices,
both at headquarters and in the field. USCIS may also need to consult with another agency or other
component of the Department of Homeland Security that have a substantial interest in the responsive
information. Due to these unusual circumstances, USCIS will invoke a 10-day extension for your request
pursuant to 5 U.S.C. § 552(a)(6)(B). Please contact our office if you would like to limit the scope of your
request or to agree on a different timetable for the processing of your request. We will make every effort
to comply with your request in a timely manner.
In accordance with Department of Homeland Security Regulations (6 C.F.R. § 5.3(c)), your request is
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deemed to constitute an agreement to pay any fees that may be chargeable up to $25.00. Fees may be
charged for searching for records sought at the respective clerical, professional, and/or managerial rates of
$4.00/$7.00/$10.25 per quarter hour, and for duplication of copies at the rate of $.10 per copy. The first
100 copies and two hours of search time are not charged, and the remaining combined charges for search
and duplication must exceed $14.00 before we will charge you any fees. Most requests do not require any
fees; however, if fees in excess of $25.00 are required, we will notify you beforehand.
The National Records Center (NRC) has the responsibility to ensure that personally identifiable
information (PII) pertaining to U.S. Citizenship and Immigration Services (USCIS) clients is protected. In
our efforts to safeguard this information, we may request that additional information be provided to
facilitate and correctly identify records responsive to your request. Though submission of this information
is voluntary, without this information, your request may be delayed while additional steps are taken to
ensure the correct responsive records are located and processed. Further, if we are unable to positively
identify the subject of the record we may be unable to provide records responsive to your FOIA request.
How to Check the Status of Your Request
You may check the status of your FOIA request online at first.uscis.gov/#/check-status. If you have any
questions concerning your pending FOIA/PA request, or to check the status of a pending application or
petition, please call the USCIS Contact Center at 800-375-5283 (TTY 800-767-1833).
How to Submit Questions or Changes
Questions concerning this FOIA/PA request may be mailed to U.S. Citizenship and Immigration Services,
National Records Center, FOIA/PA Office, P.O. Box 648010, Lee's Summit, MO 64064-8010 or emailed
to FOIAPAQuestions@uscis.dhs.gov. All FOIA/PA related requests, including address changes must be
submitted in writing, and signed by the requester. Please include the control number listed above on all
correspondence. For more information regarding the USCIS FOIA Program, please visit the USCIS
website at www.uscis.gov/FOIA.


Sincerely,



Cynthia Munita
Director, FOIA Operations
